                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


NEW ORLEANS CATERING, INC.                          *      CIVIL ACTION NO.
AND TERRY SISTRUNK                                  *
                                                    *
VERSUS                                              *      SECTION “        ”
                                                    *
LATOYA CANTRELL, IN HER OFFICIAL                    *
CAPACITY AS MAYOR OF THE CITY OF                    *
NEW ORLEANS                                         *
                                                    *      JUDGE
                                                    *
                                                    *      MAGISTRATE
                                                    *


                   COMPLAINT FOR DECLARATORY JUDGMENT,
                      INJUNCTIVE RELIEF AND DAMAGES



       NOW INTO COURT, through undersigned counsel, comes New Orleans Catering, Inc.

("NOC"), and Terry Sistrunk ("Sistrunk") as the owner of New Orleans Catering, LLC, who file

this Complaint against Latoya Cantrell in her official capacity as Mayor of the City of New

Orleans (“Mayor Cantrell” or “Mayor”) For their complaint, NOC and Sistrunk state as follows:

                                          PARTIES

                                               1.

       NOC is a Louisiana corporation with its principal place of business domiciled in

Jefferson Parish Louisiana at 1608 Justin Road, Metairie, Louisiana 70001, and Terry Sistrunk, a

resident of St Tammany Parish, is the owner of said business.

                                               2.

       Mayor Cantrell is the current serving elected Mayor of New Orleans, Louisiana, and is

sued in her official capacity as Mayor. At all times herein, Mayor Cantrell was acting in her

                                                                                              1
official capacity and under the color of state and local law. NOC's claims herein are related to

the Mayor’s issuance and enforcement of executive orders called Mayoral Proclamations that

unlawfully targeted NOC’s private business and property and treated it differently than other

similar businesses.   Plaintiffs specifically challenge The Mayor’s Guidelines for Covid-19

Reopening Phase 3 (3.2) (October 15, 2020) (See Exhibit A) as it relates to the 50-person limit

on all “gatherings” with no consideration of the capacity of the venue or other factors.

                                JURISDICTION AND VENUE

                                                3.

       The Court has subject matter jurisdiction pursuant to 28 U.S.C.A. 1331, 1343, 2201, 202,

and 42 USC 1983 and 1988. This suit arises from Mayor Cantrell's actions, acting under the

color of law, which deprived NOCs of fundamental rights secured by the Constitution and laws

of the United States and Louisiana. This Court has supplemental jurisdiction over all state law

claims pursuant to 28 US C 1367.

                                           SUMMARY

       NOC a locally owned prominent off-premise event catering business that has operated

since 1981 and employs nearly 50 people (full and part-time). Its existence is now in peril due to

the arbitrary exercise of Mayor Cantrell’s executive proclamations/emergency orders related to

the virus known as Covid19. Mayor Cantrell's proclamations unlawfully target Plaintiff’s section

of the business community without any rational basis for doing so and violate the limits of her

emergency powers. The threatened enforcement of Mayor Cantrell's executive orders violates

substantive and procedural due process, equal protection, and the takings clauses of the

Constitutions of both the United States and of the State of Louisiana. NOC seeks declaratory and




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injunctive relief but also asks for damages caused by the unlawful deprivation of constitutional

rights, or in the alternative for the unlawful taking of NOC’s property.

                                                 5.

       Although Governor John Bel Edwards own Emergency Executive Orders made under

The Louisiana Emergency Powers Act (La Rev Stat 29:766(A)) have put significant limitations

on the number of patrons who can attend special events NOC caters due to Covid-19, the

Governor has thus far done so in compliance with the Center for Disease Control’s (CDC)

recommendations and White House guidelines following the data and science. (and even with

that, the Louisiana Legislature has just passed a bill that apparently recalls all of the Governor’s

Covid-19 restrictions on businesses as going beyond his Emergency Powers)

                                                 6.

       Without any rational basis or reason, Mayor Cantrell has refused to adopt the Governor's

restrictions (again based on CDC and White House guidelines, data, and science). Instead,

Mayor Cantrell has imposed her own much stricter emergency orders that put Plaintiff (and other

similarly situated event planning, hosting, and catering firms) out of business or, at the very

least, under severe financial distress.

                                                 7.

       NOC’s business, catering large upscale private events such as weddings, celebrations,

benefits, and corporate events, mostly in Orleans parish, was entirely shut down in March due to

Covid-19 restrictions by the State and City. Beginning in June, the State began a phased re-

opening process of private businesses. Since April, Mayor Cantrell has watched what the

Governor has done. Then, shortly after that, promulgated her own - always more restrictive-

similar 3 phase emergency rules regardless of the decline in local Covid cases. Even though the



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State has been in Phase 3 since September 11, 2020, and would allow NOC to host events with a

capacity of up to 250 people or 50% of stated Fire Marshall occupancy levels (whichever is less)

in the large event sites it uses, the Mayor Cantrell’s current proclamation (ironically called Phase

3.2, which is in fact much more restrictive than the State’s Phase 3.0). The Mayor’s restriction

on indoor event capacity (50) under her Phase 3.2 currently in place is 400% more restrictive

than the State’s Phase 3.0. Mayor Cantrell will not allow more than 50 people to gather, at

catered events in New Orleans, REGARDLESS of the capacity of the venue or ability of the

planner to adopt safety protocols proven to be effective. Other similar businesses are allowed to

have much higher occupancy at their place of business, mostly based on the percentage of fire

Marshall approved occupancy levels and/or higher numbers of people under roof. For example,

a retail store is allowed 75% of fire Marshall occupancy, libraries, and office buildings are at

75%; restaurants are at 75%, salons are at 75%, Museums, Zoos and Aquariums at 75%, Houses

of Worship, Conference Venues, and Movie Theaters at 50% or 500 persons whichever is less,

Fitness Centers and Community Centers at 50%, Concert Halls are at 50% occupancy or 250

persons, (whichever is less), casinos are at 25%. Mayor Cantrell's office gave the Superdome a

negotiated number of 3,000-person capacity for the home game between the Saints and Carolina

Panthers on Sunday, October 25, 2020. The Mayor’s severe restrictions as applied to Plaintiffs’

are arbitrary and excessive and conflict with the Governor's restrictions. Mayor Cantrell is

clearly making this up as she goes.

                                                 8.

       The Governor's current restrictions for events (if it is still valid based on what the

Louisiana legislature just passed in the special session) allow private events up to 250 people

provided they do not exceed 50% of the capacity of the event venue size. Although incredibly



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challenging, that restriction is rational given the pandemic and is enough to allow NOC to

survive. However, Mayor Cantrell’s current cap of only 50 people at gatherings, regardless of

any venue's capacity, effectively will put NOC and all other similarly situated major event

businesses out of business soon. Attached is a side by side analysis that illustrates the chronology

and of the State and Mayor Cantrell’s emergency orders as it relates to private event/gathering

restrictions on the number of customers allowed (See Exhibit B). They show the Governor’s

Phase 3 increase to 250 (if the capacity allows it at 50 percent) and also Mayor Cantrell’s refusal

to exceed 50 people even as the Phases changed and the Covid infections trended down

considerably in New Orleans (half of the rest of the State's average rate).

                                                 9.

       Although Mayor Cantrell's drastic measures might have been justified in the early days of

the pandemic when little was known of the virus, there now exists an abundance of data and

other reliable evidence regarding geographic and demographic rates of infection, transmission,

hospitalizations, mortality, as well as, improved medical treatments. All of these show her

current 50-person limit on NOC is an example of government overreach. Additionally, and just

as importantly, the public has now been educated about appropriate countermeasures to take in

public to combat the virus, including appropriate social distancing, wearing masks, and hand

washing.     Likewise, businesses have learned to alter their physical environments to

accommodate this practice (separation of tables, hand sanitizer, masks for employees, safe

customer interactions, touchless payments, safe food serving practices, temperature readings).

The city should no longer be allowed to rely on media hype or politically motivated commentary,

or the city’s receipt of Cares Act money, as a basis to impose overly broad and frankly draconian

restrictions that trample fundamentally protected rights and damage the local economy. In a press



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conference last month, Mayor Cantrell herself stated that she would not allow fans back into the

Superdome for Saint’s games until the State released more Cares Act funds to the city. That can

not be the standard to impinged on fundamental rights, and if the Mayor is continued to allow to

do so, the city may face worse problems.

                                 FACTUAL BACKGROUND

                                               10.

       In March, the World Health Organization declared a global pandemic in response to the

spread of Covid-19. Governor Edwards immediately declared a state-wide public health

emergency under the Louisiana Health Emergencies Power Act, La RS 29:227 (Proclamation 25

JBE 2020)

                                               11.

       This was followed by 33 JBE 2020, commonly known as his "stay at home order." This

order directed people of Louisiana to stay in their homes unless taking essential trips to and from

work. They even ordered some nonessential businesses to be closed and placed limitations on

other businesses' net worth to remain open with specific guidelines. The order closed pool halls,

concerts and musical venues, adult entertainment venues, and other event-related businesses. The

reasons stated were that the virus's extraordinary threat would put a strain on our healthcare

system and that healthcare providers and facilities would be overwhelmed. However, there was

little evidence regarding the scope and limit of people attending events or gatherings. Since that

time, the Governor has relaxed his restrictions and moved Louisiana, with a few setbacks, into 3

phase system of economic recovery. The State is now in Phase 3. (and has been since the second

week of September). New Orleans has copied this model and then enhanced the restrictions.

Despite calling its current restrictions Phase 3.2, they are MORE restrictive than the State’s



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Phase 2.0, even though Covid cases and deaths in New Orleans are about half of the rest of the

State's averages.

                                                12.

       The city’s arbitrary limit of 50 people for events/gatherings without any relation to the

venue's size or capacity deprives NOC of fundamental rights protected by the US and Louisiana

Constitutions. Mayor Cantrell's capacity restriction of 50 people is arbitrary, without sound

reasoning, and no scientific data or are the reliable evidence demonstrates the public is more at

risk of contracting Covid while at a private event in a large venue than at other businesses,

including similarly situated businesses, such as restaurants, churches, casinos or Saints games.

(where the Mayor has just seemingly also arbitrarily allowed 3000 to attend that event at the last

home game) There were NO reported cases at any of Plaintiff’s events or Plaintiffs employees.

Nevertheless, the Mayor has allowed far more customers to attend all those other businesses.

(E.g. She set a 500-person limit on capacity at churches yet restricts catered private events to 50).

There is no real or substantial relation between attending a catered event's operation and

increased hospitalizations due to Covid-19.       Moreover, science and resources (such as that

available from the Governor’s team, the CDC, and the White House), all of which are available

to Mayor Cantrell, offer other reasonable ways to achieve the goal of slowing the spread of

Covid without a categorical hard limit of 50 people to all catered events regardless of the size of

the venue or precautions taken by the planner. There is no real substantial relation between the

50-person limits at all events and the increase of hospitalizations or deaths associated with

Covid. The 50-person limit's threatened enforcement deprives NOC of its fundamental rights

under the law and will continue to do so and less enjoined. NOC seeks declaratory, injunctive

relief to prevent further deprivation.



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                  COUNT 1: DENIAL OF SUBSTANTIVE DUE PROCESS

                                                13.

         NOC adopts the allegation set forth above.

                                                14.

         The due process clause of the fifth amendment (1791) to the US Constitution states that

no person shall be deprived of life, liberty, or property without due process. The due process

clause of the 14th amendment (1868) states that no state shall deprive any person of life, liberty,

or property without due process of law. Fundamental rights to individual liberty include the right

to pursue a lawful occupation without undue government influence. Profits are a property right.

                                                15.

         Although a state or city may take any emergency measures that impinge on these

fundamental constitutional rights when faced with an epidemic, these emergency police powers

are not plenary. They may not stay in place when no longer necessary. They must be tied to

logic.

                                                16.

         Mayor Cantrell’s hard cap of only 50 people at catered events, regardless of the venue's

size and capacity, and regardless of precautions in place, is arbitrary and without sound

reasoning, and not supported by scientific data or other reliable evidence. It also drastically

conflicts with Governor Edward’s well thought out restrictions. No evidence demonstrates that

the public is substantially more susceptible to contracting Covid if more than 50 people attend an

event in a large venue that can accommodate them if precautions are taken. If it did, the CDC

and White House guidelines, and The Governor, would not allow it. It makes even less sense to

impose drastically more harsh restrictions on catered events in New Orleans when the Covid



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rates are half the State's average. Mayor Cantrell's restrictions are at complete odds with the

Governor's restrictions. They make no sense.

                                                17.

       There is also no real or substantial difference between a plaintiffs’ special event's

operations and that of a restaurant (which can operate with no caps based on the percentage of

capacity), church services (same, up to 500 people), or Saint's game. (Which now can have 3000

in attendance) Mayor Cantrell is treating all these similarly situated events differently and

NOC’s business unfairly. Mayor Cantrell's overreaching exercise of her police powers since

March will be putting NOC (and many other local companies) out of business for no justifiable

reason. She is entitled to deference but not plenary deference, especially when it involves

destroying longstanding local businesses in our great city.

                                                18.

       Science data and the law provide Mayor Cantrell other reasonable ways to slow the

spread of Covid 19 other than putting caterers and event venues out of business by limiting their

events to 50 people. (a limit by which Plaintiff can not make a profit). Mayor Cantrell has the

Governor, the CDC, and the White House to assist her. Yet, her practice has been to wait for The

Governor’s announced updated relaxed Covid restrictions and then add her own enhanced

restrictions; in the case of private event limits, her increase is 400% more restrictive than the

Governor (despite New Orleans have half the infection/hospitalization/death rate of the rest of

the State) The 50 person cap for events with no relation to the venue's size deprives NOC of its

fundamental rights under the law and will continue to do so unless enjoined. It can only be

viewed as arbitrary and capricious. Under her logic, a venue as big as The Convention Center

could host the same 50 people as the local VFW hall.



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                                                   19.

          Plaintiffs seek declaratory and injunctive relief to protect further deprivation of their

rights.

                    COUNT 2: DENIAL OF PROCEDURAL DUE PROCESS

                                                   20.

          Plaintiffs adopt all the allegations made above.

                                                   21.

          The Fifth and Fourteenth amendments to the US Constitution guarantee the Plaintiffs a

right to procedural due process.

                                                   22.

          Plaintiffs were not provided any notice and opportunity to be heard before being

condemned to suffer under Mayor Cantrell's 50-person cap on private events, effectively putting

NOC out of business soon if not corrected.

                                                   23.

          The enforcement of the 50 person caps for private events deprives Plaintiffs of procedural

due process and will continue to do so unless enjoined.

                                                   24.

          The plaintiffs seek declaratory and injunctive relief to prevent further deprivation of their

rights.

                      COUNT 3: VIOLATION OF EQUAL PROTECTION

                                                   25.

          Plaintiffs adopt all the allegations made above.

                                                   26.



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       The equal protection clause of the Fourteenth Amendment to the U.S. Constitution

prohibits states from denying any person "the equal protection of the laws.”

                                                27.

       Mayor Cantrell’s 50 person limit on events regardless of the size of the venue or

precautions taken deprives NOC and other event businesses of their right to equal protection by

singling out their lawful business activities and subjecting them to targeted enforcement without

any rational or evidence-based reason for such different treatment than other businesses. Mayor

Cantrell has not explained why her limit of 50 people (400% percent more restrictive than the

Governor’s limit of 250) is rational or reasonable, especially in a city with half the rate of Covid

infections as the rest of Louisiana.

                                                28.

       Allowing similarity situated industries (restaurants, churches, casinos, professional

football teams) and other businesses with patrons to remain open and profitable with much more

hundreds to thousands of customers based on a percentage of capacity while categorically

targeting regular event companies with a mere 50 person limit is a facial deprivation of equal

protection and a palpable invasion of the rights secured by our fundamental laws.

                                                29.

       The enforcement of this 50-person limit the deprives NOC of its rights to equal

protection, and NOC seeks declaratory relief to prevent further deprivation.

                                                30.

       The plaintiffs also seek damages caused by Mayor Cantrell's unlawful actions.




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                                COUNT 4: TAKINGS CLAUSE

                                                 31.

       Plaintiffs adopt the allegations above.

                                                 32.

       The Fourteenth Amendment of the US Constitution provides it no state shall deprive any

person of life, liberty, or property without due process of law.

                                                 33.

       The Fifth Amendment to the U.S. Constitution prohibits the taking of private property

for public use without just compensation.

                                                 34.

       Mayor Cantrell, acting under the color of law, has effectively taken NOC's business

without just compensation.

                                                 35.

       Mayor Cantrell's 50-person limit on private events is a taking for the public purpose

under the guise that the government must do all that is reasonable and necessary to protect its

citizens' health and safety.

                                                 36.

       Such uncompensated seizures of private property violate the U.S. Constitution's takings

clause, made applicable to the State through the Fourteenth amendment. Mayor Cantrell’s

proclamation and emergency orders are pure government overreach, and are arbitrary, abusive

and have denied NOC all economically beneficial and productive use of his business.




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                                                 37.

       NOC seeks individual awards for all damages caused by Mayor Cantrell’s unlawful

actions.

            COUNT 5. DUE PROCESS AND EQUAL PROTECTION - LOUISIANA

                                                 38.

       NOC adopts the allegations made above.

                                                 39.

       Article 1 of the Louisiana Constitution provides that no person shall be deprived of his

life, liberty, or property except by the due process of law.

                                                 40.

       Louisiana respects the lawful ownership of businesses as a fundamental right. Every

citizen of Louisiana has the right to acquire a control use enjoyed project and dispose of private

property.

                                                 41.

       Mayor Cantrell has deprived NOC of its State law rights to due process and equal

protection guaranteed by the Louisiana constitution.

                              COUNT 6: TAKINGS LOUISIANA

                                                 42.

       NOC adopts the allegations made above.

                                                 43.

       The Louisiana Constitution states that property shall not be taken or damaged by the State

or his political subdivisions except for purposes and with just compensation paid to the owner.




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                                                   44.

       The emergency restrictions issued by Mayor Cantrell were entered under the authority of

her emergency powers. They have had the effect of closing NOC’s business since March.

Although NOC could probably survive with the Governor’s Phase 3 restrictions following CDC

and White House guidelines, Mayor Cantrell’s overly restrictive and burdensome orders make

re-opening its business profitably impossible. If Mayor Cantrell’s 50-person event cap is not

lifted soon, NOC will be forced into bankruptcy or closure and have to their longstanding

employees.

                                                   45.

       This amounts to a city-sponsored private property commandeering by executive order by

Mayor Cantrell and constitutes a statutory taking under Louisiana law.

                                                   46.

       The plaintiffs seek damages caused by Mayor Cantrell's unlawful actions.

                       COUNT 7: DECLARATORY JUDGMENT AND
                      REQUEST FOR EXPEDITED CONSIDERATION

                                                   47.

       Plaintiffs adopt the allegations made above.

                                                   48.

       This Court may declare the rights of any interested parties seeking such a declaration

whether or not the relief is or could be sought.

                                                   49.

       Any such declaration shall have the force of a final judgment.




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                                               50.

       Plaintiffs are interested parties and seek a declaration of their rights under the US

Constitution and Louisiana Constitution regarding whether Mayor Cantrell’s cap of 50 people on

private events has deprived NOC of fundamental rights.

                                               51.

       Specifically, Plaintiffs seek a declaratory judgment that Mayor Cantrell’s exercise of its

emergency policy power in limiting all events/gatherings to 50 people regardless of the size of

the venue or safety measures still in place at this time violates fundamental rights guaranteed by

the US and Louisiana Constitutions.

                                               52.

       Federal Rule of Civil Procedure 57 states that a court may order a speedy hearing of a

declaratory judgment action. Thus, expedited consideration is requested given the nature of the

ongoing Constitutional violations, putting NOC and hundreds of other related local businesses

out of business soon.

                           COUNT 8. INJUNCTIVE RELIVE AND
                        REQUEST FOR EXPEDITED CONSIDERATION

                                               53.

       Plaintiffs adopt their allegations made above



                                               54.

       The Court has authority under Fed. R. Civ. P 65 to issue temporary restarting orders and

preliminary injunctions.




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                                                55.

       Plaintiffs seek a temporary restraining order preventing Mayor Cantrell from enforcing

her 50-person cap Covid restriction against events, as Mayor Cantrell has targeted this section of

the industry, which is a violation of the Fifth and Fourteenth Amendments to the Constitution.

NOC will file a separate pleading amplifying why this relief is merited at the time.

                                                56.

       Under Federal Rule of Civil Procedure 65(b), this Court may issue an ex parte temporary

restraining order if the facts in a verified complaint clearly show the immediate and irreparable

injury loss or damage resulting from NOC.

                                                57.

       The deprivation of a constitutionally protected right constitutes irreparable harm. The

violation of constitutional rights for even a minimal period of time constitutes an irreparable

injury justifying the grant of an injunction.

                                                58.

       The 50-person hard limit, regardless of size or precautions are taken, will continue to

cause Plaintiffs irreparable injury.

                                                59.

       The granting of a temporary restraining order will not disservice the public interest, as the

public has no interest in arbitrary and unlawful government action.

                                                60.

       Without injunctive relief, NOC’s business, and others similarly situated, I will surely fail

and further damage the already battered New Orleans economy.




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                                                61.

        The plaintiffs seek expedited consideration for a preliminary and permanent injunction.

                                                62.

        Plaintiffs are prepared to prove that they can show a substantial likelihood of success on

the merits, that it will suffer irreparable injury if the injunctive relief is not granted, that the

threatened injury outweighs the threatened harm to the city, and the injunction will not disserve

the public interest. While the Mayor’s intentions may be pure, and Covid is certainly a serious

public health issue, her emergency powers as they target Plaintiffs deviate significantly from the

Governor's and encroach on guaranteed Constitutional rights with no rational basis for doing so.

        WHEREFORE, Plaintiffs, New Orleans Catering, Inc., and Terry Sistrunk respectfully

pray for the following relief:

        That after service and citation, Defendant, Latoya Cantrell in her official capacity as

Mayor of the City of New Orleans, be required to appear and answer;

        That after all new proceedings are there be a judgment rendered against Defendant,

Latoya Cantrell in her official capacity as Mayor of the City of New Orleans, and in favor of

New Orleans Catering, Inc., and Terry Sistrunk, declaring the Mayor Cantrell's emergency order

limit of 50 people at gatherings, regardless of the size of the venue, be deemed unlawful as

applied to New Orleans Catering, Inc. and against Mayor Cantrell from enforcing the 50 person

limit as to plaintiffs, and :

        Awarding damages as warranted;

        Awarding attorney fees and costs as per 42 U.S.C. 1988;

        Granting injunctive relief; and

        All other relief that may be allowed under law and equity.



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Respectfully submitted,
SCANDURRO & LAYRISSON, L.L.C.

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